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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

 v.                                               Crim. Action No. 1:21CR305

 SARA CARPENTER,

                       Defendant.



      MOTION TO STAY SENTENCING HEARING PENDING SUPREME
        COURT’S RESOLUTION OF FISCHER v. UNITED STATES
       Sara Carpenter, through counsel, respectfully moves this Court to vacate the

presently scheduled sentencing hearing of December 19, 2023, and stay the

sentencing the hearing until after the Supreme Court resolves Fischer v. United

States, 64 F.4d 329 (D.C. Cir. 2023), which reversed a district court opinion holding

that the actions of January 6 defendants do not qualify as conduct that fall within

Section 1512(c)(2).

       This morning the Supreme Court granted certiorari in Fischer v. United

States. 1 Resolution of Fischer directly implicates the lead felony count for which Ms.

Carpenter will be sentenced. 2 Therefore, in the interests of judicial economy, Ms.

Carpenter moves the Court to stay sentencing until the Supreme Court has resolved




       1 Counsel learned of this development a few moments after filing the defense Position on

Sentencing.
       2 Ms. Carpenter filed a motion to dismiss the obstruction count, ECF. No. 57. The record is

preserved for appeal.
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the issues raised in Fischer. Ms. Carpenter has been compliant with her conditions

of release throughout the pendency of this case.

      For the reasons herein and any others that appear to this Court, Ms. Carpenter

moves the Court to stay her sentencing hearing until Fischer is resolved.



                                       Respectfully submitted,

                                       A.J. KRAMER
                                       FEDERAL PUBLIC DEFENDER

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